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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                        April 07, 2021
                               UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

UNITED STATES OF AMERICA,             §
                                      §
      Plaintiff,                      §
                                      §
VS.                                   §
                                      §
                                        CIVIL ACTION NO. 7:20-cv-00283
2.602 ACRES OF LAND, more or less, in §
STARR COUNTY, TEXAS; JOSE             §
MANUEL VILLARREAL; and ARMANDINA §
B. VILLARREAL,                        §
                                      §
      Defendants.                     §

                                           ORDER

        The Court now considers the parties’ “Joint Motion for Order Establishing Just

Compensation, Granting Possession, and Distributing Funds on Deposit in the Registry of the

Court for Tract RGV-RGC-6023.”1 There are two such joint motions filed on the Court’s docket

within ten minutes of each other, which are identical except that the later-filed motion includes

exhibit maps.2 The Court accordingly STRIKES the first joint motion3 and considers only the

later-filed joint motion.

        This case is an eminent domain case brought under the Declaration of Taking Act4

concerning the Subject Property, designated as Tract RGV-RGC-6023, as more particularly

described in the United States’ property description and map,5 which is 2.602 acres of land

located in Starr County, Texas. The United States commenced this case on September 18, 2020,



1
  Dkt. Nos. 29–30.
2
  Compare Dkt. No. 29, with Dkt. No. 30.
3
  Dkt. No. 29.
4
  40 U.S.C. §§ 3111–18.
5
  Dkt. No. 1-1 at 6–12.


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with a complaint, declaration, and notice.6 On October 21, 2020, pursuant to Federal Rule of

Civil Procedure 71.1(j)(1) and 40 U.S.C. § 3114(b), the United States deposited $31,673 in

estimated just compensation.7 The United States designated nine interested party Defendants, not

including the unknown heirs of two deceased individuals.8 The United States obtained waivers of

service for five individuals9 and disclaimers from the other four.10 The Court dismissed the

disclaimed individuals.11 The United States then properly served the unknown heir Defendants

via publication.12 No other Defendants appeared. After the Court held an initial pretrial

conference, the parties requested and received a briefing schedule to ascertain the proper

ownership interests in the Subject Property.13 At the end of the briefing schedule, the Court

ascertained the ownership interests in the Subject Property as follows:

        33.33333% interest belongs to Jose Manuel Villarreal alone,
        27.56% interest belongs to Jose M. Villarreal14 together with his wife Armandina B.
         Villarreal, and
        the remainder is unaccounted for because Luz Rodriguez has no known heirs to whom
         her one-third interest was distributed and Maria V. Gomez disclaimed her approximate
         5.8% interest.15

         In the instant joint motion, Defendants Jose M. Villarreal and Armandina B. Villarreal

seek to memorialize and effectuate their agreement with the United States on the possession of

the subject property, the amount and disbursement of just compensation for the taking, and to



6
  Dkt. Nos. 1–3.
7
  Dkt. No. 10.
8
  Dkt. No. 1-1 at 19–20.
9
  Dkt. Nos. 6–9, 11.
10
   Dkt. Nos. 12–15.
11
   Dkt. No. 16.
12
   Dkt. Nos. 19, 22; see FED. R. CIV. P. 71.1(d)(3)(B).
13
   See Minute Entry (Dec. 15, 2020); Dkt. No. 24.
14
   A review of the record indicates that “Jose Manuel Villarreal” and “Jose M. Villarreal” are one and the same
person. See Dkt. No. 1-1 at 19; Dkt. No. 17-1 at 1 (schedule of interested parties naming only “Jose M. Villarreal”);
Dkt. Nos. 26-11, 26-14 (relevant conveyances of property to “Jose Manuel Villarreal” and “Jose M. Villarreal,” both
of Rio Grande City, Texas); Dkt. No. 27 (brief signed by “Jose M. Villarreal” but describing “Jose Manuel
Villarreal’s” property interests).
15
   Dkt. No. 28 at 5.


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terminate this case.16 The Court finds good cause in the parties’ settlement agreement to

conclude this case and GRANTS the joint motion17 upon the terms that appear in the Court’s

final judgment. Upon entry of the final judgment, this case will terminate and the Clerk of the

Court is instructed to close this case.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 7th day of April 2021.


                                                  ___________________________________
                                                               Micaela Alvarez
                                                          United States District Judge




16
     Dkt. No. 30.
17
     Dkt. No. 30.


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